                      Case: 3:08-cv-00144-CVG-GWC Document #: 1-1 Filed: 11/15/08 Page 1 of 2
JS44

(Rev. 07/89)                                                                             CIVIL COVER SHEET
The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by local
rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket
sheet. (SEE INSTRUCTIONS ON THE SECOND PAGE OF THIS FORM.)

I (a) PLAINTIFFS                                                                                       DEFENDANTS
  MEAGHAN RICHARSON                                                                                           THE ATTORNEY GENERAL OF THE BRISTISH
  CYRIL RICHARSON                                                                                             VIRGIN ISLANDS; RANDY DONOVAN

(b) COUNTY OF RESIDENCE OF FIRST LISTED                             USVI                               COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT
                                                                                                                                                                                      BVI
PLAINTIFF                                                                                                      (IN U.S. PLAINTIFF CASES ONLY)
         (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                                       NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
                                                                                                       INVOLVED

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                                               ATTORNEYS (IF KNOWN)
 THOMAS F. FRIEDBERG, ESQ. (#1006)
 610 W. ASH, SUITE 1400, PO 6814
 SAN DIEGO, CA 92166 (619)557-0101
II. BASIS OF JURISDICTION (PLACE AN x IN ONE BOX ONLY)                                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN X IN ONE BOX
                                                                                                       (For Diversity Cases Only)          FOR PLAINTIFF AND ONE BOX FOR DEFENDANT

91U.S. Government Plaintiff                   93Federal Question                                                                               PT    DEF                                                        PT      DEF
                                                (U.S. Government Not a Party)                          Citizen of This State
                                                                                                                                               9X1 91 Incorporated
                                                                                                                                                      in This State
                                                                                                                                                                    or Principal Place of Business
                                                                                                                                                                                                   94 94
9 2U.S. Government Defendant                  9X4Diversity (Indicate Citizenship of Parties in         Citizen of Another State
                                                                                                                                               92 92 Incorporated and Principal Place of Business
                                                                                                                                                     in Another State
                                                                                                                                                                                                  95 95
                                              Item III
                                                                                                       Citizen or Subject of a Foreign
                                                                                                       Country
                                                                                                                                               93 9X3 Foreign Nation                                            96 96
IV. CAUSE OF ACTION (CITE THE US CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE. DO NOT CITE
JURISDICTIONAL STATUTES UNLESS DIVERSITY).

    28 USC 1332 (diversity); 46 USC 740 and 28 USC 1333(1) (Admiralty/Maritime)

V. NATURE OF SUIT (PLACE AN X IN ONE BOX ONLY)
               CONTRACT                                                  TORTS                                      FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES

9 110 Insurance                               PERSONAL INJURY                     PERSONAL INJURY
                                                                                                               9 610 Agriculture                    9 422 Appeal 28 USC 158          9 400 State Reappointment
9 120 Marine                          9 310 Airplane                       9 362 Personal Injury-              9 620 Other Food & Drug              9 423 Withdrawal 28 USC 157      9 410 Antitrust
9 130 Miller Act                      9 315 Airplane Product Liability        Medical Malpractice
                                                                                                               9 625 Drug Related Seizure                  PROPERTY RIGHTS
                                                                                                                                                                                     9 430 Banks and Banking
9 140 Negotiable Instrument           9 320 Assault, Libel & Slander       9 365 Personal Injury -                 of Property 21 USC881
                                                                                                                                                    9 820 Copyrights                 9 450 Commerce/ICC Rates/etc.
9 150 Recovery of Overpayment         9 330 Federal Employers'                Product Liability
                                                                                                               9 630 Liquor Laws                    9 830 Patent                     9 460 Deportation
   &Enforcement of Judgment              Liability
                                                                           9 368 Asbestos Personal Injury      9 640 RR & Truck                     9 840 Trademark                  9 470 Racketeer Influenced and
9 151 Medicare Act                  9x340 Marine                              Product Liability
                                                                                                               9 650 Airline Regs                     SOCIAL SECURITY                   Corrupt Organizations

9 152 Recovery of Defaulted Student 9 345 Marine Product                         PERSONAL PROPERTY
                                                                                                               9 660 Occupational Safety/Health 9 861 HIA (13958)                    9 810 Selective Service
   Loans (Excl. Veterans)                Liability
                                                                           9 370 Other Fraud                   9 690 Other                      9 862 Black Lung (923)               9 850 Securities/Commodities
9 153Recovery of Overpayment          9 350 Motor Vehicle                  9 371 Truth in Lending                            LABOR
                                                                                                                                                9 863 DIWC/DIWW (405(g))                Exchange

   of Veterans Benefits
                                      9 355 Motor Vehicle Product          9 380 Other Personal                9 710Fair Labor Standards Act    9 864 SSID Title XVI                 9 875 Customer Challenge 12 USC
9 160 Stockholders Suits                 Liability                            Property Damage
                                                                                                               9 720 Labor/Mgmt. Relations      9 865 RSI (405(g))                   9 891 Agricultural Acts
9 190 Other Contract                  9 360 Other Personal Injury          9 385 Property Damage               9 730 Labor/Mgmt. Reporting &         FEDERAL TAX SUITS
                                                                                                                                                                                     9 892 Economic Stabilization Act
9 195 Contract Product Liability                                              Product Liability                  Disclosure Act
                                                                                                                                                9 870 Taxes (U.S. Plaintiff          9 893 Environmental Matters
         REAL PROPERTY                           CIVIL RIGHTS                    PRISONER PETITIONS
                                                                                                               9 740 Railway Labor Act            or Defendant)
                                                                                                                                                                                     9 894 Energy Allocation Act
9 210 Land Condemnation               9 441 Voting                         9 510 Motions to Vacate Sentence    9 790 Other Labor Litigation     9 871 IRS - Third Party              9 895 Freedom of Information Act
9 220 Foreclosure                     9 442 Employment                        Habeas Corpus
                                                                                                               9 791 Empl. Ret. Inc.              26 USC 7609
                                                                                                                                                                                     9 900 Appeal of Fee Determination
9 230 Rent Lease & Eiectmant          9 443 Housing/Accommodations         9 530 General                           Security Act
                                                                                                                                                                                        Under Equal Access to Justice

9 240 Tort to Land                    9 444 Welfare                        9 535 Death Penalty                                                                                       9 950 Constitutionality of State
9 245 Tort Product Liability          9 440 Other Civil Rights             9 540 Mandamus & Other                                                                                    9 890 Other Statutory Actions
9 290 All Other Real Property                                              9 550 Civil Rights
                                                                           9 555 Prisoner Conditions
VI. ORIGIN (PLACE AN X IN ONE BOX ONLY)

9
x1 Original Proceeding 92 Removal from 9 3 Remanded from Appelate 94 Reinstated or 95 Transferred from                                          96 Multidistrict Litigation       97 Appeal to District Judge from
                                State Court              Court                                Reopened            another district (specify)                                      Magistrate Judgment
VII. REQUESTED IN
                                           9 CHECK IF THIS IS A CLASS ACTION                                  DEMAND $
                                                                                                                     1,000,000.00
                                                                                                                                                                 Check YES only if demanded in complaint:
COMPLAINT:
                                           UNDER f.r.c.p. 23                                                                                                     JURY DEMAND:         9xYES 9NO
VIII. RELATED CASE(S) IF ANY (See Instructions):                         JUDGE                                                                                   Docket Number
           DATE           11/15/08                                                                               SIGNATURE OF ATTORNEY OF RECORD                       s/THOMAS F. FRIEDBERG

                ::ODMA\PCDOCS\WORDPERFECT\22816\1 January 24, 2000 (3:10pm)
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                               INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-44

                                                                    Authority For Civil Cover Sheet

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by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attorney filing a case should completed the form as follows:

I.(a) Plaintiffs - Defendants. Enter names (last, first, middle intitial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only the
full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giveing
both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time of
filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved).

(c) Attorneys. Enter firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting in this
section “(see attachment)”.

II. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place the “X” in one of
the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction is based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, it officers or agencies, place an X in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of
the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

III. Residence (citizenship) of Principal Parties. This section of the JS-44 is to be completed if diversity of citizenship was indicated above. Mark this section for
each principal party.

IV. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause.

V. Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action , in Section IV above, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.

VI. Origin. Place an “X” in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate’s decision.

VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.

Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.

Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS-44 is used to reference relating pending cases if any. If there are related pending cases, insert the docket numbers and
the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
(rev. 07/89)




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